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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )
                     Plaintiff,                    )
                                                   )      8:06CR242
       vs.                                         )
                                                   )      PRELIMINARY ORDER
SHAWN BIGGS,                                       )      OF FORFEITURE
                                                   )
                                                   )
                     Defendant.                    )

       This matter is before the Court on the United States' Motion for Issuance of

Preliminary Order of Forfeiture and Memorandum Brief (Filing No. 63. The Court reviews

the record in this case and, being duly advised in the premises, finds as follows:

       1. The Defendant has entered into a Plea Agreement, whereby he has agreed to

plead guilty to Counts I, III and IV of said Indictment. Count I of said Indictment charges

the Defendant with possession with intent to distribute methamphetamine, a violation of

21 U.S.C. §§ 84(a)(1) and (b)(1). Count III of said Indictment charges the Defendant with

using a 12 gauge shotgun on the basis it was a firearm involved or used in the knowing

commission of the offense charged in Count I. Count IV of said Indictment charges the

Defendant with using $2,050.00 in United States currency to facilitate the commission of

the conspiracy and charges said personal property is derived from proceeds obtained

directly or indirectly as a result of the commission of the crime charged in Count I.

       2. By virtue of said plea of guilty, the Defendant forfeits his interest in the subject

properties, and the United States should be entitled to possession of said properties,

pursuant to 18 U.S.C. § 924(d), 28 U.S.C. § 2461(c) and 21 U.S.C. § 853.

       IT IS ORDERED:
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       A. The United States' Motion for Issuance of Preliminary Order of Forfeiture (Filing

No. 63) is hereby sustained.

       B. Based upon Counts III and IV of the Indictment and the Defendant's plea of

guilty, the United States Marshal for the District of Nebraska ("Marshal") is hereby

authorized to seize the following-described properties:           A 12 gauge shotgun and
$2,050.00 in United States currency

       C. The Defendant's interest in said properties is hereby forfeited to the United

States of America for disposition in accordance with the law, subject to the provisions of

21 U.S.C. § 853(n)(1).

       D. The aforementioned forfeited properties are to be held by the Marshal in his

secure custody and control.

       E. Pursuant to 21 U.S.C. § 853(n)(1), the Marshal forthwith shall publish at least

once for three successive weeks in a newspaper of general circulation, in the county where

the subject properties are situated, notice of this Order, notice of the Marshal's intent to

dispose of the properties in such manner as the Attorney General may direct, and notice

that any person, other than the Defendant, having or claiming a legal interest in any of the

subject forfeited properties must file a Petition with the court within thirty (30) days of the

final publication of notice or of receipt of actual notice, whichever is earlier.

       F. Said published notice shall state the Petition referred to in Paragraph E., above,

shall be for a hearing to adjudicate the validity of the Petitioner's alleged interest in the

properties, shall be signed by the Petitioner under penalty of perjury, and shall set forth the

nature and extent of the Petitioner's right, title or interest in the subject properties and any

additional facts supporting the Petitioner's claim and the relief sought.


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       G. The United States may also, to the extent practicable, provide direct written

notice to any person known to have alleged an interest in the properties subject to this

Order as a substitute for published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order

of Forfeiture pursuant to 21 U.S.C. § 853(n), in which all interests will be addressed.

       DATED this 15th day of February, 2007.

                                                  BY THE COURT:

                                                  s/Laurie Smith Camp
                                                  United States District Judge




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